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 8                          UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
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12   ORLANDO GARCIA,                             Case No.: 2:21-cv-01515-FLA-(SKx)
13                             Plaintiff,        ORDER DISMISSING CIVIL ACTION
14                v.
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16   GAGE PLAZA LLC,
17                             Defendant.
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22         In light of the Plaintiff’s Notice of Settlement, the Court orders the action
23   dismissed without prejudice. The Court retains jurisdiction to vacate this Order and to
24   reopen the action within 60 days from the date of this Order, provided any request by
25   a party to do so shall make a showing of good cause as to why the settlement has not
26   been completed within the 60-day period, what further settlement processes are
27   necessary, and when the party making such a request reasonably expects the process
28   to be concluded. This Order does not preclude the filing of a stipulation of dismissal
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 1   with prejudice pursuant to Fed. R. Civ. P. 41, which does not require approval of the
 2   Court. Such stipulation shall be filed within the aforementioned 60-day period, or by
 3   such later date ordered by the Court pursuant to a stipulation by the parties that
 4   conforms to the requirements of a showing of good cause stated above.
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 6         IT IS SO ORDERED.
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 8   Dated: May 11, 2021                     _______________________________
                                             FERNANDO L. AENLLE-ROCHA
 9                                           United States District Judge
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